                             UNITED STATES DISTRICT COURT                       j4
                                                                                            F.M JJ:   06
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


                                             CAUSE NO.:


DAN P. RESTELLI &                                         §
DONNA C. NOVAK                                            §

      Plaintiffs,
                                                          §
                                                          §   A14CV0445                                    LV
                                                          §
vs.
                                                          §
NATIONAL ASSOCIATION FINANCIAL                            §
ESTATE PLANNING, INC., OF                                 §
SALT LAKE CiTY, UTAH; ASSET                               §
EXCHANGE STRATEGIES,                                      §
INC. OF AUSTIN, TEXAS; SCOTT JANKO;                       §
DAN CORDOBA; & JEREMY FARVER                              §
                                                          §
                                                          §
                                                          §
      Defendants.


            PLAINTIFFS' COMPLAINT FOR FRAUD, MISREPRESENTATION. BREACH
             OF FIDUCIARY DUTY, BREACH OF CONTRACT, AN!) PROFESSIONAL
                                   MALPRACTICE


TO THE HONORABLE JUDGE OF SAID COURT:

           COMES NOW, Daniel P. Restelli and Donna C. Novak ('Plaintiffs") and file this

Complaint as follows:

                                                     I.

                                           INTRODUCTION

        1. This is   a Complaint for Fraud, Misrepresentation, Breach of Fiduciary Duty, Breach of

            Contract, and Professional Malpractice   with regard to Defendants' reckless   misconduct
   and willful and reckless disregard of the rules and regulations of the Internal Revenue

   Code regarding transactions entered into by Individual Retirement Accounts (IRA) with

   disqualified persons as defined in section 4975 of the Internal Revenue Code ("IRC").

   The literal "smoking gun" in the files of Defendants unequivocally establishes that a

   mere three months after recommending that Plaintiffs' effectuate a loan from their IRA

   to an entity owned by Plaintiffs, Defendants' internal memo concluded that such

   transaction would be prohibited by the IRS and deemed invalid. Notwithstanding this

   knowledge, Defendants failed to inform Plaintiffs of such dire outcome and deprived

   them of the opportunity to reverse course and avoid a devastating financial loss.

   Defendants must be held accountable for their fraudulent, reckless, and grossly negligent

   conduct.

2. Taking advantage of Plaintiff Dan Restelli's intention to retire and having knowledge     of

   his assets rolled over from his former employer, Underwriter's Laboratories, Inc., and of

   Plaintiffs' intention to maximize investment income so as to receive safe, steady income

   for retirement, asset appreciation as well as safety of these investments. Defendants,

   jointly or severally, induced and/or advised and/or convinced Plaintiffs that they could

    use IRA account funds owned by Plaintiffs for purposes of making a loan to an LLC

    also owned by Plaintiffs. Towards that end, Plaintiffs and Defendants entered into

    agreements which provided for the rendering of the above fraudulent and defective

    services and the formation of an LLC. With respect to the former, Plaintiffs and

    Defendant, Asset Exchange Strategies, LLC ("AES") entered into an Engagement Letter

    for Consulting Services dated on or about 10.10.06 (the "AES Agreement"). A true and

    correct copy of the AES Agreement is attached hereto as Exhibit   1.   Additionally.
                                                                     and Estate Planning
      Plaintiffs and Defendant the National Association of Financial
                                                             "NAFEP Agreement"). A
       ("NAFEP") entered into the NAFEP Order Agreement (the
                                                                 hereto       as Exhibit 2.
       true and correct copy of the NAF'EP Agreement is attached
                                                             worked in tandem to
       Obviously, both the AES Agreement and NAFEP Agreement
                                                                to consummate the loan. Both
       provide the tax advice and the legal instrument in which
                                                                              and illegal conduct
       Defendants are thus jointly and severally liable for their wrongftul

       and must be held accountable by this Court.
                                                                    and in writing that the
    3. Defendants, jointly and severally, advised Plaintiffs orally
                                                                   company licensed to do
        aforesaid loan from his IRA to NovaRest, inc., an Illinois
                                                              80% by Ms. Novak, an
        business in Arizona and owned 20% by Dan Restelli and
                                                                  section 4975, having
        otherwise disqualified person, was in compliance with IRC
                                                                      4975 of the IRC and that
        knowledge that said advice was not in compliance with section
                                                                           Restelli's iRA
        such advice would lead to the disallowance by the IRS of Plaintiff
                                                                IRA accounts and otherwise
        account and any tax advantages normally associated with
                                                                     jeopardy.
        place Plaintiffs' retirement assets and plans in substantial

    4. The aforesaid advice was directly contradicted by
                                                         a memo dated 3.19.07, titled "Memo

                                                                     President of Defendant
        Loans from a Self Directed IRA", written by Mr. Scott Janko,
                                                                  copy of         the aforesaid memo
         NAFEP and a partner of Defendant AES. A true and correct

         is attached hereto as Exhibit   3   ("Defendants' Tax Memo"). Defendants' Tax Memo

                                                                      and accounting professionals
         specifically concludes, "The Majority of legal practitioners
                                                                              (Emphasis Added.)
         believe loans from IRA to Self are prohibited under 4975(f)(6)."

     5. After advising in the Defendants' Tax Memo
                                                   that loans to self had created concern with

                                                                      the loan to self program
         their members and clients, NAFEP advised that they suspended



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       until they received corroboration from the U.S. Department of Labor ("DOL"). "Our

       current action plan is to submit exemption requests to the Department of Labor for an

       actual client's loan to self scenario. Additionally we will be submitting a request for an

       advisory opinion regarding our interpretation of 4975(f)(6)." id.

    6. Research   of the DOL site has disclosed no requests by either AES or NAFEP for a waiver

       of or instructions regarding the IRA loan to self program sold by AES and NAFEP.

    7. At no time after the date   of Defendants' Tax Memo did Defendants advise Plaintiffs not

       to proceed with the NovaRest loan.

    8. According to the "Free Press Release" dated 3.1.06, distributed by AES, and referring
                                                                                             in

        the heading "Asset Exchange Strategies and NAFEP Partner."           "The purpose of the

        partnership was an agreement making Asset Exchange the exclusive advisory firm and

        master distributor of self directed IRA's for NAFEP's 1200 Certified Estate Advisors

        (CEA) members through its Premier IV IRA-LLC product." The Press Release

        additionally states, "As a result of the deal, Asset Exchange Strategies will work directly

        NAFEP certified planners, securities reps, insurance agents, CPA's and other across the

        country to enable their clients to invest in real estate, notes, tax liens, private stock and

        other non-traditional assets with their iRA's, addressing growing demand and further

        expanding Asset Exchange's market reach." id.

    9. Defendants deliberately and in breach    of their fiduciary duties to Plaintiffs,

        misrepresented the tax effect and risks associated with a loan from an IRA to a

        disqualified person.

     10. By falsely and incompetently advising Plaintiffs regarding the above tax effects of a

        loan from an IRA to a disqualified person, Defendants have caused the IRS to make



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   demand on them for taxes and penalties in the following amounts

         .   12.31.06 -$203,677.86

11. As   a result of the aforesaid breaches and misconduct of Defendants. Plaintiffs were
                                                                                       and
   further required to participate in an audit conducted by the IRS at great expense
                                                                                   in their
   inconvenience requiring Plaintiffs to retain accountants and attorney to assist

   defense. The IRS concluded that the transactions were, indeed, prohibited.

12. The IRS determined that Plaintiffs are liable for additional taxes
                                                                       in the amount

   of$ 167,293.22. Total accounting expenses incurred by Plaintiffs to respond
                                                                               to the IRS

                                                                                              (not
   audit were in the amount of $88.121.12 for a total out of pocket loss of $255,414.34

   including attendant legal expenses which continue to accrue.).

13. Defendants and each of them alone or in concert, prepared and
                                                                  provided the legal

    documents creating the limited liability company (LLC) owned by Plaintiffs
                                                                               self

                                                                            estate.
    directed IRA (D2 Real Estate Securities) for the purpose of owning real
                                                                           i.e., promissory
    Additionally, Defendants provided Plaintiffs with forms and documents,

    note and mortgage instruments, to be used in consummation of otherwise prohibited

    transaction in reckless disregard and willful negligence regarding the effect
                                                                                  of Plaintiffs

    using those documents.

 14. As a direct consequence   of Defendants' actions, the Plaintiffs were irrevocably harmed

    and suffered substantial damages.
                                     JURISDICTION

15. Plaintiffs bring this Complaint under Diversity Jurisdiction, 28 U.S.C. 1332 and
                                                                                     the

   amount in controversy exceeds $75.000.00.

16. The Agreement between the parties, as below defined, provides that   "In the event of

   commencement of any legal action regarding any terms or condition of this engagement

   such action by agreement is subject to the jurisdiction of the Courts of the State of

   Texas".

                                             LII

                                          PARTIES

17. Plaintiffs are residents   of Pima County, Arizona and can be served by and through

    undersigned counsel, Charles A. Moster, Esq., Moster Law Firm, 4920 S. Loop 289.

    Suite 102. Lubbock. Texas 79414.

18. Defendant AES is an LLC organized in the State     of Texas and may be served through it

   registered agent on record with the Texas Secretary of State, Daniel A. Cordoba. 13581

   Pond Springs Road, Suite 450, Austin, Texas 78729.

 19. Defendant, Daniel A. Cordoba, is a director, president, and treasurer of
                                                                              AES and is a

    resident of the State of Texas located at the following address: 411 Pecan Grove,

    Leander, Texas 78641.

 20. Defendant Jeremy Farver is a Vice President and Director of AES and resident
                                                                                  of the

     State of Texas located at the following address: 3534 Cheyenne Street. Sandy. Texas

     78665.

 21. Defendant NAFEP is a corporation organized under the laws of the State
                                                                                of Utah.
    22. Defendant Scott Janko, is the President of NAFEP, and a resident of the State of Utah.

                                                Iv.

                                            COUNTi
                            NEGLIGENT MISREPRESENTATION

    23. Plaintiffs incorporate by reference the allegations set forth above.

    24. Defendants represented that the recommended loan from Plaintiffs IRA to NovaRest,

        Inc. would be legally compliant   with the   tax laws and regulations of the IRS and/or IRC

        and not be deemed a prohibited transaction.

    25. Said representations were made in the course of Defendants' business operations.

    26. In the course   of said representations, Defendants supplied false information for use by

        Plaintiffs with respect to the validity of a loan from an IRA to Plaintiffs' entity with

        respect to the tax laws and regulations of the IRS and/or IRC.

    27. Defendants did not exercise reasonable care or competence in obtaining or

        communicating the information.

    28. Plaintiffs suffered pecuniary loss by justifiably relying on said information.

    29. Plaintiffs are entitled to actual damages in an amount which will be established in court.

    30. Plaintiffs are entitled to consequential damages in an amount which will be established

        m court.

    31. Plaintiffs are entitled to Punitive damages in an amount to be determined by the trier of

        fact as the harm resulted from Defendants' fraud, malice, or gross negligence.




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                                           COUNT      2
                                               FRAUD

    32. Plaintiffs incorporate by references the allegations
                                                             set forth above.

                                                                            IRA to NovaRest,
    33.   Defendants represented that the recommended loan from Plaintiff's

          Inc. would be legally compliant with the tax laws and regulations
                                                                            of the IRS and/or IRC

          and not be deemed a prohibited transaction.

    34. Said representations were material.

    35. Said representations were false.
                                                                     false or made it recklessly
    36.   When the representations were made, Defendants knew it was

          without knowledge of the truth and as a positive assertion.
                                                                   Plaintiffs rely on them.
    37.   Defendants made the representations with the intent that

     38. Plaintiffs relied on said representations.

     39. Plaintiffs suffered injury thereby.
                                                                which will be established In court.
     40. Plaintiffs are entitled to actual damages in an amount
                                                                       which will be established
     41. Plaintiffs are entitled to consequential damages in an amount

           in court.

     42. Plaintiffs are entitled to Punitive damages in an amount
                                                                  to be determined by the trier of

                                                                     or gross negligence.
           fact as the harm resulted from Defendants' fraud, malice,




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                              BREACH OF FIDUCIARY DUTY

    43. Plaintiffs incorporate by reference the allegations set forth above.

    44. A relationship of trust arid confidence existed between Plaintiffs and Defendants with

        regard to the performance of fmancial services relating to the recommended loan from

        Plaintiffs IRA to an entity owned by Plaintiffs. In the course of performing these

        services, Plaintiffs entrusted Defendants with their confidential information including

        but not limited to tax returns, retirement accounts, and other financial information.

    45. Defendants breached their fiduciary duty of disclosure in that they failed to disclose

       Defendants' Tax Memo and their own determination that the very IRA loan transaction

       recommended was prohibited by the laws and regulations of the IRS and/or IRC.

     46. Defendants breached their fiduciary duty to use reasonable care in that they failed to

         exercise the degree of care that a reasonably prudent person would devote to his own

         financial affairs.

     47. As a result of Defendants breach of fiduciary duty as aforesaid, Plaintiffs sustained

         damage in that they were required to respond to an IRS audit and ultimate disallowance

         of the very loan transaction recommended by Defendants.

     48. Plaintiffs are entitled to actual damages in an amount which will be established in court.

     49. Plaintiffs are entitled to consequential damages in an amount which will be established

         in court.




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                                         damages in an amount to be determined
                                                                                         by the trier of
 50. Plaintiffs are entitled to Punitive
                                                  fraud, malice, or gross negligence.
       fact as the harm resulted from Defendants'



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                                     BREACH OF CONTRACT

  51. Plaintiffs incorporate by references the
                                               allegations set forth above.

                                                 AES Agreement and NAFEP Agreement (the
  52. Plaintiffs and Defendants entered into the
                                                   See, Exhibits             and 2.
        "Agreements") as above defined and stated.
                                                                         1



                                             agreed to provide services with respect to estate
  53. Pursuant to the Agreements. Defendants
                                                           planning,         research, and the formation
         planning, retirement planning/strategy, insurance
                                                                    Plaintiffs' IRA to the LLC (the
         of an LLC to consummate the recommended loan from

         'Services").

      54. Defendants breached the Agreements by
                                                reconuiiending Services which were in patent

                                                            as set forth by the IRS andlor IRC.
          violation of applicable tax laws and regulations

      55. Plaintiffs sustained damages as a result
                                                   of the aforesaid breach in an amount which will

          be established at trial.

      56. In accordance with Texas law, Plaintiffs
                                                   are entitled to the recovery of reasonable

                                                           this claim.
          attorney's fees and costs incurred in bringing




ID]
                                               vi".

                                           COUNT      5
                              PROFESSIONAL MALPRACTICE
                                                           set forth above.
 57. Plaintiffs incorporate by reference the allegations
                                                         in their professional capacity      as
 58. Plaintiffs consulted and contracted with Defendants
                                                                of financial transactions relating
        estate planners and experts with regard to the efficacy

                           of loans from IRA's to an entity owned by the holder of
                                                                                   said IRA.
        to the extension
                                                            and professionals with regard to
        Moreover, Defendants held themselves out as experts
                                                           which pertained to the aforesaid
        the applicable IRS and/or IRC laws and regulations

        transactions.
                                                          the ordinary care and diligence
     59. Defendants owed a duty to Plaintiffs to exercise

        exercised by other similarly situated professionals
                                                            in the same or similar circumstances

                                                     the effectuation of a loan from     Plaintiffs'
         and were negligent in that they recommended
                                                             violated applicable tax laws and
         IRA to an entity owned by Plaintiffs which patently

         regulations as set forth by the IRS and/or IRC.
                                                       to exercise ordinary care and diligence       in
     60. Plaintiffs were damaged by Defendants failure

        that the transaction recommended by Defendants was audited and disallowed by the IRS.

                                                                      breach in an amount which will
      61. Plaintiffs sustained damages as a result of
                                                      the aforesaid

          be established at trial.
                                                      in an amount to be determined by the trier of
      62. Plaintiffs arc entitled to Punitive damages
                                                            malice, or gross negligence.
          fact as the harm resulted from Defendants' fraud,




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                                                Ix.

                                             PRAYER

                                                          entered with respect to the claims set
    63. Plaintiffs respectfully requests that judgment be

        forth herein.
                                                     that Defendants be cited to
W'HEREFORE, PREMISES CONSIDERED, Plaintiffs requests

appear and answer, and that on final trial, Plaintiffs have:

       A. Judgment against Defendants in the amount
                                                    of $255,414.34 with prejudgment interest
                                                                       legal rate from the date of
              thereon and postjudgment interest thereon at the highest

              Judgment until paid;

        B. Judgment against Defendants for fraud as set forth
                                                              in Count 1;

                                                             as       set forth in Count 2;
        C. Judgment against Defendants for misrepresentation
                                                               duty      as set forth in Count 3;
        D. Judgment against Defendants for breach of fiduciary
                                                              as set forth in Count 4;
        E. Judgment against Defendants for breach of contract
                                                        malpractice       as set forth in Count 5;
        F. Judgment against Defendants for professional

                                                           by the trier of fact;
         G. Punitive Damages against Defendants as awarded

         H. Judgment against Defendants for attorney's
                                                       fees incurred in this matter;

         I.    Judgment against Defendants for all court costs; and

         J. Such other and further relief to which Plaintiffs
                                                              may show themselves entitled to

               receive.




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     Respectfully Submitted,




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